Case 1:17-cr-00017-IMK-MJA Document 160 Filed 06/06/17 Page 1 of 4 PageID #: 401



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                   CRIMINAL NO. 1:17CR17-05
                                                 (Judge Keeley)

 ERIC WARNER,

                   Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 126),
      ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

       On May 19, 2017, the defendant, Eric Warner (“Warner”),

 appeared before United States Magistrate Judge Michael J. Aloi and

 moved for permission to enter a plea of GUILTY to Count Two of the

 Indictment.    After   Warner     stated   that   he    understood    that    the

 magistrate    judge    is   not   a   United   States   District     Judge,    he

 consented to tendering his plea before the magistrate judge.

 Previously,    this    Court   had    referred    the   guilty   plea   to    the

 magistrate judge for the purposes of administering the allocution

 pursuant to Federal Rule of Criminal Procedure 11, making a finding

 as to whether the plea was knowingly and voluntarily entered, and

 recommending to this Court whether the plea should be accepted.

       Based upon Warner’s statements during the plea hearing and the

 testimony of Brad Dumire, an investigator with the West Virginia

 Insurance Commission’s Fraud Division, the magistrate judge found

 that Warner was competent to enter a plea, that the plea was freely
Case 1:17-cr-00017-IMK-MJA Document 160 Filed 06/06/17 Page 2 of 4 PageID #: 402



 USA v. WARNER                                                   1:17CR17-05

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 126),
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

 and voluntarily given, that he was aware of the nature of the

 charges against him and the consequences of his plea, and that a

 factual basis existed for the tendered plea. On May 19, 2017, the

 magistrate judge entered a Report and Recommendation Concerning

 Plea of Guilty in Felony Case (“R&R”) (dkt. no. 126) finding a

 factual basis for the plea and recommending that this Court accept

 Warner’s plea of guilty to Count Two of the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R. The parties did not file

 any objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Warner’s guilty plea, and ADJUGES him GUILTY of the crime

 charged in Count Two of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



                                       2
Case 1:17-cr-00017-IMK-MJA Document 160 Filed 06/06/17 Page 3 of 4 PageID #: 403



 USA v. WARNER                                                   1:17CR17-05

       ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
         CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 126),
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         Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

         1.   The Probation Officer shall undertake a presentence

 investigation of Warner, and prepare a presentence report for the

 Court;

         2.   The Government and Warner shall provide their versions of

 the offense to the probation officer by June 13, 2017;

         3.   The presentence report shall be disclosed to Warner,

 defense counsel, and the United States on or before August 14,

 2017;    however,   the   Probation   Officer   shall   not   disclose   any

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

         4.   Counsel may file written objections to the presentence

 report on or before August 28, 2017;

         5.   The Office of Probation shall submit the presentence

 report with addendum to the Court on or before September 5, 2017;

 and

         6.   Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the




                                       3
Case 1:17-cr-00017-IMK-MJA Document 160 Filed 06/06/17 Page 4 of 4 PageID #: 404



 USA v. WARNER                                                         1:17CR17-05

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 126),
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

 factual     basis    from    the   statements    or   motions,   on    or   before

 September 5, 2017.

       The magistrate judge continued Warner on bond pursuant to the

 Order Setting Conditions of Release (dkt. no. 44) entered on March

 29, 2017.

       The    Court    will    conduct    the    sentencing   hearing     for   the

 defendant on Friday, September 15, 2017 at 11:30 A.M. at the

 Clarksburg, West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: June 6, 2017


                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




                                           4
